Case 3:20-cv-00488-RDM Document 24 Filed 10/20/20 Page 1 of 2

THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JAMES KARLOWICZ,

Plaintiff, :

V. : 3:20-CV-00488
(JUDGE MARIANI)

AMERICAN STATES
INSURANCE COMPANY,

Defendant.

ORDER

’ :
AND NOW, THIS Sv! bay OF OCTOBER, 2020, upon review of Magistrate

 

Judge Carlson’s Report and Recommendation (“R&R”) (Doc. 23) for clear error or manifest
injustice, IT IS HEREBY ORDERED THAT:
1. The R&R (Doc. 23) is ADOPTED for the reasons set forth therein.
2. Defendant’s Motion to Dismiss Counts Il, Ill, and IV of Complaint (Doc. 6) is
GRANTED IN PART AND DENIED IN PART as follows:
a. The Pennsylvania Motor Vehicle Financial Responsibility Law claim in Count
Il is CONSOLIDATED with Count | (breach of contract claim) of Plaintiff's
Complaint.
b. Defendant's motion to dismiss is DENIED in all other respects.
3. Plaintiffs Motion to Remand (Doc. 19) is DENIED.
4. Upon the recommendation of Magistrate Judge Carlson, the parties shall confer and,

within 14 days of the date of this Order, inform the Court whether they wish to
Case 3:20-cv-00488-RDM Document 24 Filed 10/20/20 Page 2 of 2

engage in mediation at this time. If the parties so agree, they shall state whether they
would like the Court to refer this matter to a Magistrate Judge or other settlement

officer for purposes of conducting settlement discussions."

 

LENA LY.
Robert D. Mariart

United States District Judge

 

' The Court notes Defendant's letter dated June 19, 2020 (Doc. 17) stating that the parties “do not
believe that early mediation would be fruitful at this time, at least until they have had an opportunity to
conduct some level of pretrial discovery.” However, at that time, Defendant's motion to dismiss remained
pending and Plaintiff had expressed his intent to file a motion to remand. Those motions having now been
decided, and the parties having had the opportunity to engage in initial pre-trial discovery, the issue of
mediation is appropriate for consideration again.
